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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

CHRISTIAN DIOR COUTURE, S.A.,
                                                       Case No. 19-cv-00852
               Plaintiff,

v.

THE PARTNERSHIPS AND
UNINCORPORATED ASSOCIATIONS
IDENTIFIED ON SCHEDULE “A,”
               Defendants.


                      Schedule A – Sealed Document Pursuant to LR26.2

       This document is being filed under seal with a Motion for Leave to File Documents under

Seal. A full version of Schedule A will be delivered to the Court in a sealed envelope and will

remain under seal until further order of this Court.

Dated this 11th day of February 2019.         Respectfully submitted,


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